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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )          8:06CR71
                      Plaintiff,                )
                                                )           ORDER
               vs.                              )
                                                )
GUSTAVO SAUCEDO-BELTRAN,                        )
                                                )
                      Defendant.                )


         Defendant’s Motion to Continue (Filing No. 46) is granted.

       IT IS ORDERED that the Change of Plea hearing is continued to August 9, 2006
at 10:00 a.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between August 4, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present unless excused by the
Court.

         DATED this 7th day of August, 2006.
                                              BY THE COURT:


                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
